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CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

JS 44 (Rev. 02/19)

 

I. (a) PLAINTIFFS
Arthur C. Solomon

(b) County of Residence of First Listed Plaintiff Fort Bend County, Texas

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys son Name, Address, and Telephone Number)
ff ro Se - Arthur C. Solomon, 32819 Wesleyan Court,

Plainti

7

Weston Lakes, Texas 77441; (817) 659-6006 (Telephone)

DEFENDANTS
DaVita, Inc.

Attorneys (if Known)

 

County of Residence of First Listed Defendant

Arapahoe County,Colorado

(IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

Tiffany Cox Stacy; Ogletree, Deakins, Nash, Smoak & Stewart,
P.C., 112 East Pecan Street, 2700 Weston Centre, San Antonio,
Texas 78205; (210) 354-1300 (Telephone); (210) 277-2702 (Fax)

 

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)

 

(For Diversity Cases Only)

I. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

and One Box for Defendant)

 

 

 

 

 

 

 

 

 

 

O 1 U.S. Government %3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State *1i gil Incorporated or Principal Place o4 04
of Business In This State
O 2 US. Government 04 Diversity Citizen of Another State O 2 © 2 Incorporated and Principal Place os ms
Defendant (Indicate Citizenship of Parties in Item II) of Business In Another State
Citizen or Subject of a O 3 © 3. Foreign Nation o6 O6
Foreign Country
IV. NATURE OF SUIT (2iace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
L CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES |
© 110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Dmg Related Seizure © 422 Appeal 28 USC 158 0 375 False Claims Act
1 120 Marine 0 310 Airplane 01 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal 0 376 Qui Tam (31 USC
0 130 Miller Act 0 315 Airplane Product Product Liability 1 690 Other 28 USC 157 3729(a))
0 140 Negotiable Instrument Liability 1 367 Health Care/ 1 400 State Reapportionment
0 150 Recovery of Overpayment | (1 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 0 410 Antitrust
& Enforcement of Judgment Slander Personal Injury O 820 Copyrights 01 430 Banks and Banking
0 151 Medicare Act C1 330 Federal Employers’ Product Liability 1 830 Patent 0 450 Commerce
1 152 Recovery of Defaulted Liability 368 Asbestos Personal 0 835 Patent - Abbreviated 01 460 Deportation
Student Loans 0 340 Marine Injury Product New Drug Application | 470 Racketeer Influenced and
(Excludes Veterans) (1 345 Marine Product Liability O1 840 Trademark Corrupt Organizations
01 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR SOCIAL SECURITY 0 480 Consumer Credit
of Veteran’s Benefits 0 350 Motor Vehicle 01 370 Other Fraud 1 710 Fair Labor Standards 0 861 HIA (1395ff) 1 485 Telephone Consumer
0 160 Stockholders’ Suits 01 355 Motor Vehicle 0 371 Truth in Lending Act O 862 Black Lung (923) Protection Act
1 190 Other Contract Product Liability O 380 Other Personal 0 720 Labor/Management 0 863 DIWC/DIWW (405(g)) | 490 Cable/Sat TV
01 195 Contract Product Liability | 360 Other Personal Property Damage Relations 0 864 SSID Title XVI 0 850 Securities/Commodities/
1 196 Franchise Injury 0 385 Property Damage 01 740 Railway Labor Act 01 865 RSI (405(g)) Exchange
0 362 Personal Injury - Product Liability 0 751 Family and Medical 1 890 Other Statutory Actions
Medical Malpractice Leave Act 0 891 Agricultural Acts
| REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS _|0 790 Other Labor Litigation FEDERAL TAX SUITS 0 893 Environmental Matters
O 210 Land Condemnation 0 440 Other Civil Rights Habeas Corpus: #791 Employee Retirement C1 870 Taxes (U.S. Plaintiff 11 895 Freedom of Information
0 220 Foreclosure 0 441 Voting 0 463 Alien Detainee Income Security Act or Defendant) Act
O 230 Rent Lease & Ejectment 0 442 Employment 1 510 Motions to Vacate QO 871 IRS—Third Party 1 896 Arbitration
1 240 Torts to Land 0 443 Housing/ Sentence 26 USC 7609 1 899 Administrative Procedure
0 245 Tort Product Liability Accommodations 1 530 General Act/Review or Appeal of
0 290 All Other Real Property 0 445 Amer. w/Disabilities - | 535 Death Penalty IMMIGRATION Agency Decision
Employment Other: 0 462 Naturalization Application 1 950 Constitutionality of
01 446 Amer. w/Disabilities -] 1 540 Mandamus & Other | 465 Other Immigration State Statutes
Other 0 550 Civil Rights Actions

 

O 448 Education

0 555 Prison Condition

O 560 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

V. ORIGIN (Place an “X” in

One Box Only)

O1 Original 2K2 Removed from O 3  Remanded from O 4 Reinstated or O 5 Transferred from © 6 Multidistrict O 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

VI. CAUSE OF ACTION

29 USC 1132

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

 

 

Brief description of cause: . . . . .
Plaintiff alleges Defendant provided erroneous information regarding COBRA insurance

 

 

 

 

 

VII. REQUESTED IN O CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: Yes 2WNo
VIII. RELATED CASE(S) oo
IF ANY (See instructions): JUDGE N/A DOCKET a
DATE | Z aes ORNEY OF RECORD
SNI9 Zhi
FOR OFFICE USE ONLY oa ()
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
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JS 44 Reverse (Rev. 02/19)

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

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required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

L(a)

(b)

i)

I.

IV.

VII.

Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. Ifthe plaintiff or defendant is a government agency, use
only the full name or standard abbreviations.: If the plaintiff or defendant is an official within a government agency, identify first the agency and
then the official, giving both name and title. z

County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)

Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section "(see attachment)".

Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
precedence, and box 1 or 2 should be marked.

Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
cases.)

Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.

Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
that is most applicable. Click here for: Nature of Suit Code Descriptions.

Origin. Place an "X" in one of the seven boxes.

Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.

Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
multidistrict litigation transfers.

Multidistrict Litigation — Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
Section 1407.

Multidistrict Litigation — Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket. PLEASE
NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to changes in
statue.

_ Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional

statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
